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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    FRANCHISE GROUP, INC., et al., 1                         Case No. 24-12480 (LSS)

                             Debtors.                        (Jointly Administered)

                                                             Related D.I. 1065



                  CERTIFICATE OF NO OBJECTION REGARDING
           FIRST MONTHLY FEE STATEMENT OF ASHBY & GEDDES, P.A.,
          DELAWARE SPECIAL COUNSEL ON BEHALF OF AND AT THE SOLE
        DIRECTION OF THE INDEPENDENT DIRECTOR MICHAEL J. WARTELL,
          FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
        AND REIMBURSEMENT OF EXPENSES INCURRED DURING THE PERIOD
          DECEMBER 19, 2024 THROUGH AND INCLUDING JANUARY 31, 2025

             I, Michael D. DeBaecke, an attorney with the law firm of Ashby & Geddes, P.A., Delaware

special counsel to Michael J. Wartell, in his capacity as independent director (the “Independent

Director”) and sole member of the conflicts committees (the “Conflicts Committees”) of the boards




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      The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach,
      Virginia 23456.


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(each, a “Board” and, together, the “Boards”) of debtors Freedom VCM Interco, Inc. and Freedom

VCM, Inc. (the “Retaining Debtors”) in the above-captioned bankruptcy cases (the “Chapter 11

Cases”) of Franchise Group, Inc. and certain of its affiliates (collectively, the “Debtors”), hereby

certify the following:

         1.       On March 7, 2025, Ashby & Geddes, P.A. (“Ashby”) filed the First Monthly Fee

Statement of Ashby & Geddes, P.A., Delaware Special Counsel on Behalf of and at the Sole

Direction of the Independent Director Michael J. Wartell, for Compensation for Professional

Services Rendered and Reimbursement of Expenses Incurred During the Period December 19,

2024 through and Including January 31, 2025 [D.I. 1065] (the “First Monthly Statement”).

         2.       Pursuant to the Notice of First Monthly Statement, any objections or responses were

to be filed with the Court and properly served by March 28, 2025, at 4:00 p.m. (Eastern Time).

         3.       As of the date hereof, the undersigned counsel has not been served with or

otherwise received any responses in opposition to the First Monthly Statement. A review of the

Court’s docket indicates that, as of this date, no responses or objections have been filed with

respect thereto.

         WHEREFORE, pursuant to the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses for Professionals [D.I. 353], the Debtors are authorized to pay

Ashby $32,752.00 in fees (80% of $40,940.00) and $221.90 in expenses (100%), respectively, for

a total of $32,973.90, as requested in the First Monthly Statement.

Dated: March 31, 2025                           ASHBY & GEDDES, P.A.
       Wilmington, Delaware
                                                /s/ Michael D. DeBaecke
                                                Michael D. DeBaecke (No. 3186)
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                                             -and-

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                                         Special Counsel on behalf of and at the sole direction
                                         of Michael J. Wartell as the Independent Director and
                                         sole member of the Conflicts Committee of the Board of
                                         each of the Retaining Debtors




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